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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF OHIO
                                 WESTERN DIVISION

CHEYENNE SEIBER, on behalf of herself and )
others similarly situated,                )           CASE NO.
                                          )
              Plaintiff,                  )           JUDGE
                                          )
       v.                                 )
                                          )           CLASS AND COLLECTIVE ACTION
MANAGEMENT AND TRAINING                   )           COMPLAINT
CORPORATION,                              )
                                          )           JURY DEMAND INCLUDED HEREON
              Defendant.                  )

       Plaintiff Cheyenne Seiber (“Plaintiff”), by and through counsel, for her Complaint against

Defendant Management and Training Corporation (“Defendant”), states and alleges as follows:


                                       INTRODUCTION

        1.      This case challenges policies and practices of Defendant that violated the Fair

Labor Standards Act (“FLSA”), 29 U.S.C. §§ 201-219, as well as the Ohio overtime

compensation statute, Ohio Rev. Code Ann. § 4111.03.

        2.      Plaintiff brings this case as an FLSA “collective action” pursuant to 29 U.S.C.

§ 216(b), which provides that “[a]n action to recover the liability “prescribed by the FLSA

“may be maintained against any employer … by any one or more employees for and on behalf

of herself or themselves and other employees similarly situated.” Plaintiff brings this case on

behalf of herself and other “similarly-situated” persons who may join this case pursuant to §

216(b) (“Potential Opt-Ins”).

        3.      Plaintiff also brings this case as a class action pursuant to Fed. R. Civ. P. 23 on

behalf of herself and other members of a class of persons, defined herein, who assert factually-

related claims under Ohio wage-and-hour statutes (the “Ohio Class”).

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                                 JURISDICTION AND VENUE

        4.       This Court has jurisdiction over Plaintiff’s FLSA claims pursuant to 28

 U.S.C. § 1331 and 29 U.S.C. § 216(b).

        5.       This Court has supplemental jurisdiction over Plaintiff’s claims under Ohio

 law because those claims are so related to the FLSA claims as to form part of the same case or

 controversy.

        6.       Venue is proper in this judicial district and division pursuant to 28 U.S.C.

§1391(b) because a substantial part of the events or omissions giving rise to Plaintiff’s claims

occurred here.

                                           PARTIES

        7.       Plaintiff is a resident of Ohio who was employed by Defendant as a correctional

officer from February 2013 through December 2019.

        8.       Defendant is a Corporation for Profit organized under the laws of the state of

Delaware and maintaining a principal place of business in Utah. Defendant is in the business of

operating private prisons, and employed Plaintiff at its North Central Correctional Facility in

Marion, Ohio during all times relevant to this Complaint.

        9.       At all times relevant, Defendant was an “employer” within the meaning of the

FLSA, 29 U.S.C. § 203(d), and corresponding provisions of Ohio law including the Ohio

overtime compensation statute, Ohio Rev. Code Ann. § 4111.03.

        10.      At all times relevant, Defendant was an “employer” within the meaning of the

FLSA, 29 U.S.C. § 203(d), and corresponding provisions of Ohio law including the Ohio

overtime compensation statute, Ohio Rev. Code Ann. § 4111.03.




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                                  FACTUAL ALLEGATIONS
                                Failure to Pay for Pre-Shift Work

       11.       At all times relevant to this Complaint, Defendant employed Plaintiff and other

similar situated employees in a non-exempt hourly capacity.

       12.       Plaintiff and other similarly situated employees were routinely required to work

in excess of 40 hours per workweek.

       13.       Defendant required Plaintiff and other similarly situated employees to arrive

before their scheduled shift for “pass down,” which involved several shift change duties,

including but not limited to attendance at a mandatory pre-shift briefing.

       14.       Plaintiff and other similarly situated employees subject to this policy were not

paid any amount for the pre-shift “pass down” work, as such time was not counted as hours

worked for purposes of computing overtime.

       15.       Plaintiff and those similarly situated to him performed this unpaid work

routinely, and it constituted a part of their fixed and regular working time.

       16.       There was no practical administrative difficulty in recording this unpaid work for

Plaintiff and those similarly situated.

       17.       The unpaid work performed by Plaintiff and other similarly situated employees

constituted a part of their principal activities, was required by Defendant, and was performed for

Defendant’s benefit.

       18.       This work was an integral and indispensable part of the principle activities

performed by Plaintiff and other similarly situated employees.

       19.       Defendant’s failure to pay Plaintiff and similarly situated employees for pass-

down time work resulted in unpaid overtime in violation of the FLSA and Ohio law.

       20.       Defendant knowingly and willfully failed to pay Plaintiff and other similarly

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situated employees for time spent performing pre-shift “pass down” duties.

                           COLLECTIVE ACTION ALLEGATIONS

          21.    Plaintiff incorporates by reference the foregoing allegations as if fully rewritten

herein.

          22.    Plaintiff brings this case as an FLSA “collective action” pursuant to 29 U.S.C.

§ 216(b), which provides that “[a]n action to recover the liability “prescribed by the FLSA “may

be maintained against any employer … by any one or more employees for and in behalf of himself

or themselves and other employees similarly situated.”

          23.    The Potential Opt-Ins who are “similarly situated” to Plaintiff’s with respect to

Defendant’s FLSA violations consist of:

                All of Defendant’s current and former non-exempt employees who
                performed unpaid pre-shift work and who worked 40 or more hours
                in at least one workweek at any point from three years prior to the
                filing of this Complaint through the present.

          24.    Such persons are “similarly situated” with respect to Defendant’s FLSA

violations in that all were non-exempt employees of Defendant, all were subjected to and

injured by Defendant’s unlawful practice of failing to pay for pre-shift work resulting in unpaid

overtime, and all have the same claims against Defendant for unpaid overtime compensation as

well as for liquidated damages, attorneys’ fees, and costs.

          25.    Conditional certification of this case as a collective action pursuant to 29 U.S.C.

§ 216(b) is proper and necessary so that such persons may be sent a Court-authorized notice

informing them of the pendency of this action and giving them the opportunity to “opt in.”

          26.    The persons similarly situated to Plaintiff are readily identifiable through the

payroll records Defendant have maintained, and were required to maintain, pursuant to the FLSA

and Ohio law. 29 U.S.C. § 211(c) & 29 C.F.R. § 215.2; Ohio Const. art. II, § 34a.

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                                CLASS ACTION ALLEGATIONS
                                        (Ohio Class)
          27.     Plaintiff incorporates by reference the foregoing allegations as if fully rewritten

herein.

          28.     Plaintiff also brings this case as a class action pursuant to Fed. R. Civ. P. 23 on

behalf of herself and other members of a class of persons who assert claims under the laws

of the State of Ohio (the “Ohio Class”), defined as:

                All of Defendant’s current and former non-exempt employees who
                performed unpaid pre-shift work and who worked 40 or more hours
                in at least one workweek at any point from two years prior to the
                filing of this Complaint through the present.

          29.     The Ohio Class is so numerous that joinder of all class members is

impracticable. The exact number of class members as well as their identities are ascertainable

from the payroll records Defendant has maintained, and was required to maintain, pursuant

to the FLSA and Ohio law. 29 U.S.C. § 211(c) & 29 C.F.R. § 215.2; Ohio Const. art. II, § 34a.


          30.     There are questions of law or fact common to the Ohio Class, including but

not limited to:

                  Whether Defendant failed to pay Plaintiff and other class
                  members all overtime pay due to them?


                  Whether Defendant’s failure to pay Plaintiff and other class
                  members overtime pay due to them in violation of the FLSA and
                  Ohio law was willful?

                  Whether Defendant kept adequate records of the hours worked
                  by Plaintiff and the other class members?

          31.     Plaintiff’s claims are typical of the claims of other members of the Ohio Class.

Plaintiff’s claims arise out of the same uniform course of conduct by Defendant, and are based

on the same legal theories, as the claims of other class members.

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           32.    Plaintiff will fairly and adequately protect the interests of the Ohio Class.

 Plaintiff’s interests are not antagonistic to, but rather are in unison with, the interests of other

 class members. Plaintiff’s counsel has broad experience in handling class action litigation,

 including wage-and-hour litigation, and is fully qualified to prosecute the claims of the Ohio

 Class in this case.

           33.    The questions of law or fact that are common to the Ohio Class predominate

 over any questions affecting only individual members. The primary questions that will

 determine Defendant’s liability to the class, listed above, are common to the class as a whole,

 and predominate over any questions affecting only individual class members.

           34.    A class action is superior to other available methods for the fair and efficient

 adjudication of this controversy. Requiring class members to pursue their claims individually

 would entail a host of separate suits, with concomitant duplication of costs, attorneys’ fees,

 and demands on court resources. Many class members’ claims are sufficiently small that they

 would be reluctant to incur the substantial cost, expense, and risk of pursuing their claims

 individually. Certification of this case as a class action pursuant to Fed. R. Civ. P. 23 will

 enable the issues to be adjudicated for all class members with the efficiencies of class

 litigation.

                                          COUNT ONE
                                    (FLSA Overtime Violations)
          35.     Plaintiff incorporates by reference the foregoing allegations as if fully rewritten

herein.

          36.    Plaintiff brings this claim for violation of the FLSA’s overtime provisions on

behalf of herself and the Potential Opt-Ins who may join this case pursuant to 29 U.S.C. §

216(b). Plaintiff’s written consent to becoming a party to this action pursuant to § 216(b) has


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been filed with the Court.

           37.   The FLSA requires that Defendant’s non-exempt hourly employees receive

 overtime compensation for all hours worked in excess of forty (40) in a workweek.

           38.   Plaintiff and the Potential Opt-Ins should have been paid overtime

 compensation at the rate of one-half times their regular rate of pay for all hours worked in

 excess of forty hours per workweek.

           39.   Defendant failed to pay the overtime compensation to Plaintiff and the Potential

 Opt-Ins.

           40.   By engaging in that practice, Defendant willfully violated the FLSA and

 regulations thereunder that have the force and effect of law.

           41.   As a result of Defendant’s violations of the FLSA, Plaintiff and the Potential

 Opt-Ins were injured in that they did not receive overtime compensation due to them pursuant

 to the FLSA. 29 U.S.C. § 216(b) entitles them to an award of “unpaid overtime compensation”

 as well as “an additional equal amount as liquidated damages.” Section 216(b) further

 provides that “[t]he court … shall, in addition to any judgment awarded to the Plaintiffs or

 plaintiffs, allow a reasonable attorney’s fee to be paid by the Defendants, and costs of the

 action.”

                                         COUNT TWO
                                   (Ohio Overtime Violations)
           42.   Plaintiff incorporates by reference the foregoing allegations as if fully rewritten

 herein.

           43.   Plaintiff brings this claim for violation of the Ohio overtime compensation

 statute, Ohio Rev. Code Ann. § 4111.03, on behalf of herself, the Potential Opt-Ins who may

 join this case pursuant to 29 U.S.C. § 216(b), and all members of the Ohio Class for which


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certification is sought pursuant to Fed. R. Civ. P. 23.

       44.     At all times relevant, Defendant was an employer covered by the Ohio

overtime compensation statute, Ohio Rev. Code Ann. § 4111.03.

       45.     Defendant violated the Ohio overtime compensation statute, Ohio Rev. Code

Ann. § 4111.03, by failing to pay overtime compensation to its non-exempt hourly employees.

       46.     Defendant’s violations of Ohio Rev. Code Ann. § 4111.03 injured Plaintiff, the

Potential Opt-Ins, and the Ohio Class members in that they did not receive overtime

compensation due to them pursuant to that statute.

       47.     Ohio Rev. Code Ann. § 4111.10(A) provides that Defendant, having violated

§ 4111.03, is “liable to the employee[s] affected for the full amount of the overtime wage

rate, less any amount actually paid to the employee[s] by the employer, and for costs and

reasonable attorney’s fees as may be allowed by the court.”


                                  PRAYER FOR RELIEF


      WHEREFORE, Plaintiff, and all similarly-situated employees, collectively pray that this

Honorable Court:

      A.      Conditionally certify this case as an FLSA “collective action” pursuant to 29

              U.S.C. § 216(b) and direct that Court-approved notice be issued to similarly-

              situated persons informing them of this action and enabling them to opt in;

      B.      Certify this case as a class action pursuant to Fed. R. Civ. P. 23 on behalf of Plaintiff

              and other members of the Ohio Class;

      C.      Enter judgment against Defendant and in favor of Plaintiff, the Opt-Ins, and the

              Ohio Class;



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D.    Award compensatory damages to Plaintiff, the Opt-Ins, and the Ohio Class in the

      amount of their unpaid wages, as well as liquidated damages in an equal amount;

      and

E.    Award Plaintiff and the Putative Class members pre-judgment and post-judgment

      interest at the statutory rate;

F.    Award Plaintiff their costs and attorney’s fees incurred in prosecuting this action

      and such further relief as the Court deems equitable and just.

                                        Respectfully submitted,


                                        /s/ Christopher J. Lalak
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                                  JURY DEMAND

Plaintiff hereby demands a trial by jury on all claims so triable.


                                        /s/ Christopher J. Lalak
                                        Christopher J. Lalak

                                        Counsel for Plaintiff




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